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  13   Subclass
  14

  15                        UNITED STATES DISTRICT COURT
  16                      CENTRAL DISTRICT OF CALIFORNIA
  17                                 WESTERN DIVISION
  18   JENNY BROWN, individually and on              CASE NO. No. 2:13-cv-01170-
       behalf of all others similarly situated,      DMG-E
  19
                     Plaintiffs,                     NOTICE OF CHANGE OF FIRM
  20                                                 ADDRESS FOR PLAINTIFF’S
       v.                                            COUNSEL PARISI & HAVENS
  21                                                 LLP
       DIRECTV, LLC,
  22                                               Judge:    Hon. Dolly M. Gee
                    Defendant.
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                                                               NOTICE OF CHANGE OF FIRM ADDRESS
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   1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
   2   RECORD:
   3         PLEASE TAKE NOTICE THAT counsel for Plaintiff, Parisi & Havens LLP,
   4   has relocated. Effective immediately, the firm’s mailing address has been changed
   5   to the following:
   6   Parisi & Havens LLP
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   7   San Francisco, California 94111
   8   Please direct all future notices, pleadings, and correspondence to this address. The

   9   firm’s telephone number, facsimile number, and email addresses remain the same.

  10

  11   Dated: October 1, 2019          By: /s/Suzanne Havens Beckman__

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